993 F.2d 1530
    NOTICE: First Circuit Local Rule 36.2(b)6 states unpublished opinions may be cited only in related cases.Priya K. DAS, Plaintiff, Appellant,v.CIBA CORNING DIAGNOSTICS CORPORATION, Defendant, Appellee.
    No. 92-1049.
    United States Court of Appeals,First Circuit.
    June 8, 1993
    
      APPEAL FROM THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MASSACHUSETTS
      Priya K. Das on brief pro se.
      Edward N. Perry and Perkins, Smith &amp; Cohen on brief for appellee.
      D.Mass.
      AFFIRMED.
      Before Selya, Cyr and Boudin, Circuit Judges.
      Per Curiam.
    
    
      1
      In 1988 Ciba Corning Diagnostics Corporation ("Ciba") placed an advertisement seeking a "manufacturing engineer-mechanical."  Priya K. Das applied, but was not hired, or, for that matter, granted an interview.  He sued Ciba alleging, under various legal theories,1 that he was denied employment because of his age and national origin.  After some discovery, a hearing was held on the parties' cross motions for summary judgment.  The district court granted summary judgment in Ciba's favor and also allowed its motion for sanctions, fining Das $250.  Das appeals both rulings.  Finding no error, we affirm.
    
    BACKGROUND
    
      2
      The facts are essentially undisputed and we recount them in a light favorable to the plaintiff.
    
    
      3
      The advertisement that gave rise to this litigation described Ciba as a company engaged in medical diagnostics and biomedical research.  The ad stated:  "We are looking for an individual to provide mechanical engineering support to the medical instrument assembly and test areas....  The ideal candidate will have a B.S. in Mechanical Engineering and 3-5 years of experience in a manufacturing environment."  Of 57 applicants, Das and 53 others were not interviewed.  Born and educated in India, Das was 46 years of age at the time.  Ciba hired a younger candidate who possessed, like Das, a B.S. in mechanical engineering, but had only three years of work experience.  Dissatisfied with the hiring decision, Das wrote to Ciba for an explanation.  The company responded that Das' 25 years of experience were not a "good fit" with the criteria set for the entry level position advertised.  This suit ensued.
    
    
      4
      In an affidavit supporting its motion for summary judgment Ciba averred that Das' application was eliminated because (1) the company was not interested in candidates who changed jobs every two years:  "Das' excessive 'job hopping' made him a very unattractive candidate," and (2) none of Das' experience related to the medical or biomedical field.  It was attested that the hired candidate's hands-on experience in plastics was the deciding factor in making a job offer due to the increased use of plastic parts in the industry.  As such, the hiree possessed more relevant experience for the advertised position under the hiring criteria then in place.
    
    
      5
      In opposition, Das pointed to his superior education and experience which, he declared in an accompanying affidavit, fully qualified him for the job.  The denial of employment because of his 25 years of experience shows, he asserted, that Ciba's selection process was grounded in age bias.  And, Das claimed, the fact that Ciba later changed its story and offered a different rationale, i.e., that he was a job-hopper, signified a cover-up of the true reason for the hiring decision.  According to Das, his job changes were either for career advancement or the result of layoffs, plant closings, and the like, all common occurrences in manufacturing industries.  Accordingly, the job-hopper label was untrue, and merely a pretext for the real reason:  age discrimination.
    
    
      6
      Following a hearing, the district court ruled from the bench that Das, in attacking the person hired as an unqualified candidate, had failed to offer sufficiently probative evidence from which a fact-finder could reasonably infer that defendant's hiring reasons were a pretext for age or national origin discrimination.  Accordingly, Ciba's motion for summary judgment was allowed, and Das' cross-motion for summary judgment was denied.
    
    DISCUSSION
    
      7
      * This suit is virtually identical to three others brought by Das after he was not hired for an advertised engineer position solely because of the contents of his resume.  See Das v. Cri-Tech, Inc., No. 90-1769, slip op.  (1st Cir.  Jun. 12, 1991) (Das I); Das v. Bowmar/Ali, Inc., No. 90-2096, slip op.  (1st Cir.  Jun. 21, 1991) (Das II), and Das v. A.W. Chesterton Co., No. 91-1159, slip op.  (1st Cir.  Sept. 24, 1991) (Das III ).  Each prior appeal also from an adverse summary judgment was affirmed on the basis that Das had failed to present any probative evidence permitting an inference that the hiring decision masked a discriminatory motive or was otherwise incredible.  In this appeal, we focus, as does appellant, on the age discrimination claim.
    
    
      8
      In Das I and Das II, we described the standards applicable to summary judgment in the disparate treatment employment discrimination context, and do not restate them.  See also Goldman v.  First Nat'l Bank of Boston, 985 F.2d 1113, 1116-18 &amp; n.4 (1st Cir. 1993).  The Supreme Court has recently clarified the standards for liability under the ADEA.   Hazen Paper Co. v.  Biggins, 113 S. Ct. 1701 (1993).  The Court explained that "there is no disparate treatment under the ADEA when the factor motivating the employer is some feature other than the employee's age," id. at 1705;  "a disparate treatment claim cannot succeed unless the employee's protected trait actually played a role in [the employer's decisionmaking] process and had a determinative influence on the outcome."   Id. at 1706.
    
    
      9
      We assume, as did the district court, that Das satisfied the prima facie rubric for hiring discrimination claims.   Keyes v.  Secretary of the Navy, 853 F.2d 1016, 1023 (1st Cir. 1988).  Ciba clearly and sufficiently articulated permissible non-discriminatory reasons for its hiring decision, requiring Das to show that explanation "unworthy of credence," that is, "not the true reason for the employment decision."  Texas Dep't of Community Affairs v.  Burdine, 450 U.S. 248, 256 (1981).
    
    
      10
      We conclude, relying on the analysis set out in Das II, that plaintiff failed to undercut the plausibility of Ciba's proffered rationale with specific facts (and not merely subjective conclusions) that would enable a jury to find that age was an undisclosed, motivating factor in the hiring decision.  In so deciding, we note, first, that Das has not attempted to counter Ciba's explanation that his resume indicated no experience in the medical/biomedical fields.  Second, regarding Das' claim that Ciba "changed its story" and later offered a different reason for not hiring him, Das has failed to show that those later reasons were premised upon discriminatory motive.  As we have stated before: "Since an employer's nondiscriminatory motivations for adverse employment decisions are irrelevant in an age discrimination case, a 'mere showing that the employer's articulated reason may shield another (possibly nondiscriminatory) reason does not create a dispute of material fact' sufficient to withstand summary judgment."   Goldman, 985 F.2d at 1118 n.4 (quoting Villanueva v.  Wellesley College, 930 F.2d 124, 128 (1st Cir.), cert.  denied, 112 S. Ct. 181 (1991)).
    
    
      11
      Finally, Das stresses the role that his many years in the field may have played in hurting his chances to get the job.  He argues that hiring criteria which impermissibly favor a minimum number of years of work experience make age a determining factor in the selection process and, because age and experience are directly related, effectively eliminate all applicants over 40 years of age.  The Biggins decision is instructive on this point.  In deciding that a dismissal based solely on pension status was not discriminatory treatment on the basis of age for ADEA purposes, the Court emphasized that "[b]ecause age and years of service are analytically distinct, an employer can take account of one while ignoring the other, and thus it is incorrect to say that a decision based on years of service is necessarily 'age-based'."   Biggins, 113 S. Ct. at 1707.  Consequently, the ADEA is not violated when the factor motivating the employment decision merely correlates with age, i.e., gives rise to a permissive and not a necessary inference.  By like token, having failed to show that age actually played a role in the decision not to hire him, Das may not, under Biggins, ask us to presume that the employer's decision to hire a candidate with significantly less work experience is automatically age-based.  As Biggins makes plain, even if, as Das speculates, older workers are likely to have more years of work experience, Ciba's decision to hire an engineer with three years of desired experience does not, without more evidence than is offered here, implicate the prohibitions of the ADEA.2
    
    II
    
      12
      We turn to the issue of sanctions.  In Das II, we upheld a $1420 award of attorneys' fees and costs against Das under Fed.  R. Civ. P. 11.  Here, Ciba contended that Das had violated Rule 11 by irresponsibly maintaining this action after three similar (and similarly meritless) complaints against other corporate defendants had been dismissed.  Ciba sought attorneys' fees and costs in excess of $12,000.  The district court found that Das' claims, filed in October 1989, were brought in good faith and were objectively reasonable until the filing of his cross motion for summary judgment one year later.  By that time, Das I and Das II had been dismissed in the district court, and Das had reason to know that his cross motion was neither well founded in fact nor warranted in existing law.  Taking into account Das' pro se status, the court concluded that a $250 sanction was appropriate.  We find no abuse of discretion in this carefully considered determination.  Anderson v.  Beatrice Foods Co., 900 F.2d 388, 394 (1st Cir.)  ("The trial judge is best positioned to decide what sanction best fits a particular case or best responds to a particular episode or pattern of errant conduct."), cert. denied, 498 U.S. 891 (1990).
    
    
      13
      The defendant-appellee requests costs and reasonable attorneys' fees for defending this appeal.  When Das, who has proceeded pro se throughout, noticed this appeal in January 1992, he knew that the same arguments advanced now had been rejected in Das I, Das II, and Das III and should have realized that no valid grounds for appeal existed here.  Considering this litigation history, the frivolous nature of this appeal, and taking into account Das' pro se status, we assess double costs and damages in the amount of $500.  Fed. R. App.  P. 38;  see La Amiga del Pueblo, Inc. v.  Robles, 937 F.2d 689, 692 (1st Cir. 1991);  N.E. Alpine Ski Shops v.  U.S. Divers Co., 898 F.2d 287, 291 n.1 (1st Cir. 1990).
    
    
      14
      The judgment of the district court is affirmed; double costs and $500 awarded to the appellee.
    
    
      
        1
         Das' suit alleged violations of Title VII, 42 U.S.C. § 2000e et seq.;  the Age Discrimination in Employment Act ("ADEA"), 29 U.S.C. § 621 et seq.;  and the Civil Rights Act of 1866, 42 U.S.C. § 1981.  "[T]he standards of liability under all [of these statutes] are substantially identical,"  Villanueva v. Wellesley College, 930 F.2d 124, 126 n.2 (1st Cir.), cert. denied, 112 S. Ct. 181 (1991), and the district court, accordingly, analyzed Das' claims collectively
      
      
        2
         Nor do we read Das' complaint to state a claim that Ciba's facially neutral hiring practices impact older job applicants more harshly.  The Court has not recognized a "disparate impact" theory of liability under the ADEA.   Biggins, 113 S. Ct. at 1706
      
    
    